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                                                                                      FILED
                                                                                    JAN !l-1 2018
                                                                                  U s DISTRICT COURT
                               UNITED STATES DISTRICT COURT                     EASTERN DISTRICT OF MO
                               EASTERN DISTRICT OF MISSOURI                            ST.LOUIS
                                     EASTERN DIVISION

 UNITED STATES OF AMERICA,                        )
                                                  )
                 Plaintiff,                       )
                                                  ),----~~~~~~~~~~~~~-------

 v.                                               )i
                                                  )i    4:18CR00071 AGF
 ALAN JOHNSON,                                    )
                                                  )
                 Defendant.                       )
                                                  )
                                                  )


                                         INFORMATION

The United States Attorney charges that:

                                     COUNTl
                       [MAIL FRAUD CONSPIRACY: 18U.S.C.§13491

                                        INTRODUCTION

      1. Beginning in or about 2008 and continuing until in or about December of 2014, in the

         Eastern District of Missouri, ALAN JOHNSON, the defendant herein, and other

         conspirators, both known and unknown, did knowingly and willfully combine, conspire,

         confederate and agree with each other and others known and unknown, to commit the

         following offense against the United States:

            a. To devise and intend to devise a scheme to defraud, and to obtain money and

                property by means of materially false and fraudulent pretenses, representations and

                promises, and for the purpose of executing the scheme described above, and

                attempting to do so, to cause to be sent or delivered by any private or commercial ,

                interstate carrier, or knowingly cause to be delivered by mail or such carrier
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              according to the direction thereon, or at the place at which it is directed to be

               delivered by the person to whom it is addressed, in violation of Title 18, United

               States Code, Section 1341.

                                   MANNER AND MEANS

       The ways, manner and means by which the foregoing objective of the conspiracy to commit

mail fraud were to be accomplished included, but were not limited to, the following:

   2. The primary purpose of the conspiracy was for the defendant fraudulently to obtain

       kickback payments from vendor company Controls Plus, with which the defendant's

       employer, BMI, had business dealings.

   3. It was a part of the conspiracy that vendor company Controls Plus conspired with the

       defendant to supply industrial equipment to BMI.

   4. It was further a part of the conspiracy that Controls Plus submitted invoices, reflecting

       fraudulently inflated equipment costs, to BMI by means of a private carrier who travelled

       in interstate commerce.

   5. It was further a part of the conspiracy that "BW," the owner of Controls Plus, would pay

       the defendant a kickback payment reflecting 10 to 20 percent of the invoiced amount

       charged by Controls Plus.

   6. It was further a part of the conspiracy that Controls Plus issued approximately $150,000 in

       payments to the defendant as part of the kickback plan.




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           All in violation of Title 18, United States Code, Section 1349.

           DATED: (/ "i       j\.'g                                   JEFFREY B. JENSEN

                                                                      United States Altom~)~

                                                                          Jc}GVidh_
                                                                      Gwenaolyn E. Carroll
                                                                      Assistant United States Attorney
           UNITED STATES OF AMERICA     )
           EASTERN DNISION              )
           EASTERN DISTRICT OF MISSOURI )

                 I, Gwendolyn E. Carroll, Assistant United States Attorney for the Eastern District of

           Missouri, being duly sworn, do say that the foregoing information is true as I ve:iily//elieve.

                                                                         ~[0T\MV
                                                                      GWENDOLYN E. CARROLL



           Subscribed and sworn to before me this   _1_ day of January 2018.




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